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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )             Civil Action Number:
                                    )             1:22-cv-04149-WMF
FELICIA FRANKLIN, in her            )
individual and official capacities; )
ALIEKA ANDERSON, in her             )
individual and official capacities; )
GAIL HAMBRICK, in her               )
individual and official capacities; )
and CLAYTON COUNTY,                 )
GEORGIA,                            )
                                    )
      Defendants.                   )
__________________________________
DEFENDANT FELICIA FRANKLIN’S CONSENT MOTION TO EXTEND
THE DEADLINE TO ANSWER, PLEAD, OR OTHERWISE RESPOND TO
                 PLAINTIFF’S COMPLAINT
      COMES NOW Defendant Felicia Franklin (“Defendant Franklin”) by and

through her undersigned counsel and, pursuant to Fed. R. Civ. P. (6)(b), hereby

moves for an extension of time to respond to Plaintiff’s Complaint, seeking an

extension of this deadline through and including December 12, 2022. In support of

this motion, Defendant Franklin respectfully show as follows:
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      Defendant Franklin’s answer or responsive pleading is currently due on

November 22, 2022. The request for an extension to December 12, 2022, is needed

due to the upcoming Thanksgiving holiday and the fact that undersigned counsel

was only just retained to represent Defendant Franklin. Counsel needs additional

time to evaluate Plaintiff’s claims and prepare responsive pleadings. Counsel for

Defendant Franklin has conferred with Plaintiff’s counsel, and Plaintiff consents to

Defendant Franklin’s request for this extension.

      WHEREFORE, Defendant Franklin respectfully requests that she be granted

an extension through and including December 12, 2022 to answer, plead, or

otherwise respond to Plaintiff’s Complaint. All defenses are hereby reserved. A

proposed order is attached for the Court’s convenience.

      Respectfully submitted this 17th day of November, 2022.

                                             /s/ Ken E. Jarrard
                                             Ken E. Jarrard
                                             Georgia Bar No. 389550
                                             kjarrard@jarrard-davis.com
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com
                                             Counsel for Defendant Felicia
                                             Franklin

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                                         2
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/ Ken E. Jarrard
                                             Ken E. Jarrard
                                             Georgia Bar No. 389550
                                             kjarrard@jarrard-davis.com



                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

CONSENT MOTION TO EXTEND THE DEADLINE TO ANSWER, PLEAD,

OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT in the above-

styled civil action with the Clerk of Court by using the Court’s CM/ECF system,

which will automatically send notice of same to the attorneys of record.

      This 17th day of November, 2022.



                                             /s/ Ken E. Jarrard
                                             Ken E. Jarrard
                                             Georgia Bar No. 389550
                                             kjarrard@jarrard-davis.com




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